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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

PAUL J. JOHNSON                                                                                March 28, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                           Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                      Deposition of PAUL J. JOHNSON, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Monday, March
               28, 2011.



               APPEARANCES:


                                 LEGER & SHAW
                                 (By: Walter J. Leger, Jr., Esquire)
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                                 9th Floor
                                 New Orleans, Louisiana 70130
                                     (Plaintiff's Steering Committee)




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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

PAUL J. JOHNSON                                                                                March 28, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 190                                                Page 192
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                                                                                           Page 191                                                Page 193




 10

                                                                                                      12       Q. Can you tell me, briefly, what
                                                                                                      13   was the experience level, if you know, of,
                                                                                                      14   let's take Mr. Harrell?
                                                                                                      15       A. Jimmy, Jimmy Harrell was very
                                                                                                      16   experienced at being an OIM quite a while,
                                                                                                      17   you know. I don't know exactly, you know.
                                                                                                      18   You know, he's over 20 years.
                                                                                                      19       Q. Maybe we'll get to ask him.
                                                                                                      20           Did he have more experience than
                                                                                                      21   you did as a driller, toolpusher?
                                                                                                      22       A. Quite possibly. I don't know
                                                                                                      23   for sure.
                                                                                                      24       Q. How about Randy Ezell?
                                                                                                      25       A. Randy's the same. He's very
                                                                                                                            49 (Pages 190 to 193)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

PAUL J. JOHNSON                                                                                March 28, 2011   JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 194                                        Page 196
   1       experienced, you know, I know him for a                                                     1
   2       long time. I just couldn't tell you the
   3       time in each position, but he's very
   4       experienced.
   5




 10                                                                                                   10




                                                                                           Page 195                                        Page 197




 10                                                                                                   10




                                                                                                                      50 (Pages 194 to 197)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

PAUL J. JOHNSON                                                                                March 28, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 206                                                Page 208
   1                                                                                                   1




 10                                                                                                   10     Q. Did BP ever criticize to you any
                                                                                                      11 of the Transocean personnel with regard to
                                                                                                      12 well control?
                                                                                                      13     A. No. No. I don't believe they
                                                                                                      14 did. I don't recall any. No.
                                                                                                      15




                                                                                           Page 207                                                Page 209




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                                                                                                                           53 (Pages 206 to 209)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:

PAUL J. JOHNSON                                                                                March 28, 2011       JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 302                                                   Page 304
   1                                                                                                   1




 10                                                                                                   10




                                                                                                      22    Q.               But the fact remains
                                                                                                      23 that as the operations manager of the
                                                                                                      24 DEEPWATER HORIZON, it was your
                                                                                                      25 responsibility not to operate the rig if a
                                                                                           Page 303                                                   Page 305
                                                                                                       1   critical piece of equipment was out of
                                                                                                       2   certification; correct?
                                                                                                       3       MR. JOHNSON:
                                                                                                       4           Object to the form of the
                                                                                                       5   question.
                                                                                                       6       THE WITNESS:
                                                                                                       7           Okay. Take a step back. I was
                                                                                                       8   the rig manager, not the operations
                                                                                                       9   manager. And that I would not operate the
 10                                                                                                   10   rig if the rig wasn't operational and
                                                                                                      11   wasn't safe to operate.




                                                                                                                             77 (Pages 302 to 305)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                     Reported by:

PAUL J. JOHNSON                                                                                March 29, 2011   JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                       Page 420
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                     VOLUME II

                      Deposition of PAUL J. JOHNSON, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Tuesday, March
               29, 2011.


               APPEARANCES:


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                                       and Christine L. DeSue,
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                                     (Attorneys for PSC)




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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                               Reported by:

PAUL J. JOHNSON                                                                                March 29, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 545                                                  Page 547
   1                                                                                                   1   issue to BP's satisfaction, as far as you
                                                                                                       2   have an understanding?
                                                                                                       3      A. Yes, we did.
                                                                                                       4      Q. And what about Transocean, was
                                                                                                       5   there anything that Transocean wanted to
                                                                                                       6   resolve before sending the rig back into
                                                                                                       7   service?
                                                                                                       8      A. Yes, there was.
                                                                                                       9      Q. And what was that, sir?
 10                                                                                                   10      A. We had an issue with the PRS,
                                                                                                      11   which is the pipe racking system. We did
                                                                                                      12   extensive overhaul during that period and
                                                                                                      13   then when we put it back together and
                                                                                                      14   commissioned it, we thought we had it all
                                                                                                      15   worked out but there was obviously was
                                                                                                      16   another problem with it.
                                                                                                      17           Which I suppose we could have
                                                                                                      18   lived with and risk assessment and carried
                                                                                                      19   on, and but after consultation with the OIM
                                                                                                      20   and the rig team, the feelings were the
                                                                                                      21   best thing was to stop and fix it, so
                                                                                                      22   that's what we did.
                                                                                                      23      Q. Who made the decision to stop
                                                                                                      24   and fix it, Mr. Johnson?
                                                                                                      25      A. Me.
                                                                                           Page 546                                                  Page 548
                                                                                                       1       Q. Were you new in your position as
  2            Q. Okay. I want to start with a                                                         2   rig manager for performance at that time?
  3        few questions about the 2009 BP audit, sir.                                                 3       A. Yes. I'd only been there a
  4            A. Okay.                                                                                4   couple of weeks at that point, somewhere
  5            Q. To be clear, when was that audit                                                     5   around that.
  6        conducted?                                                                                  6       Q. Did you experience any
  7            A. It was conducted early                                                               7   hesitation despite being new in your
  8        September, 2009.                                                                            8   position in informing BP that you wanted to
  9            Q. Okay. What was the operational                                                       9   resolve an issue before the rig went back
 10        status of the DEEPWATER HORIZON at the time                                                10   into service?
 11        of the BP inspection?                                                                      11       A. No.
 12            A. The rig was in a plan that would                                                    12       Q. Did you feel as if Transocean
 13        service period, so it was out of service                                                   13   management backed you on your decision?
 14        and doing maintenance.                                                                     14       A. Yes. Yes, they did. And
 15            Q. Do you have an understanding as                                                     15   although I was confident, you're still not
 16        to whether or not BP had the opportunity or                                                16   sure how that information will be received
 17        the right to demand that any issue be                                                      17   when you inform your bosses. So, you know,
 18        resolved before it agreed that the rig                                                     18   I do recall actually the first time I went
 19        would go back into service?                                                                19   was my first ever operation meeting I went
 20            A. That was my understanding, yes.                                                     20   to. And I went to the meeting and I
 21            Q. Did that, in fact, happen? Did                                                      21   informed the team that we're talking about
 22        BP request that the rig not go back into                                                   22   rig schedule or something, I don't recall.
 23        service until some issue was resolved?                                                     23          That's when I told them that the
 24            A. Yes, they did.                                                                      24   rig was going to be an additional six or so
 25            Q. Did Transocean resolve that                                                         25   days -- I can't recall the time frame --
                                                                                                                            33 (Pages 545 to 548)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

PAUL J. JOHNSON                                                                                March 29, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 549                                                Page 551
   1       late. They asked why and I informed them                                                    1
   2       why and they asked how long it was going to
   3       be and I told them and they said okay to
   4       that and we moved on to another subject.
   5




 10                                                                                                   10




                                                                                           Page 550                                                Page 552




                                                                                                       4      Q. Did you ever receive any
                                                                                                       5   feedback from BP personnel regarding
                                                                                                       6   Transocean's efforts to close out audit
                                                                                                       7   items?
                                                                                                       8      A. Yes, I did.
                                                                                                       9      Q. Could you tell me what the
 10                                                                                                   10   nature of that feedback was, Mr. Johnson?
                                                                                                      11      A. We received very positive
                                                                                                      12   feedback from BP on our approach to
                                                                                                      13   handling the issues, closing them out and
                                                                                                      14   communicating to BP. They were very
                                                                                                      15   satisfied with our performance on the
                                                                                                      16   action items.
                                                                                                      17      Q. From whom did you receive BP --
                                                                                                      18   that type of feedback from BP?
                                                                                                      19      A. You know, we received written
                                                                                                      20   feedback from Angel Rodriguez, you know,
                                                                                                      21   and I sat and met regularly with Angel,
                                                                                                      22   Brett Cocales, John and Joe Neumeyer and
                                                                                                      23   they we.



                                                                                                                           34 (Pages 549 to 552)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:

PAUL J. JOHNSON                                                                                March 29, 2011      JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 557                                                 Page 559
   1
                                                                                                       2       Q. Okay. I want to turn just a
                                                                                                       3   minute, if we can, to the culture aboard
                                                                                                       4   the DEEPWATER HORIZON. DEEPWATER HORIZON.
                                                                                                       5   And I apologize in advance, Mr. Johnson, if
                                                                                                       6   some of these questions are difficult to
                                                                                                       7   answer.
                                                                                                       8           Did you have any impression
                                                                                                       9   about whether the men and women aboard the
 10                                                                                                   10   DEEPWATER HORIZON took pride in their work?
                                                                                                      11       A. Yes, they did.
                                                                                                      12       Q. Did you consider the men and
                                                                                                      13   women aboard the DEEPWATER HORIZON to be
                                                                                                      14   well trained?
                                                                                                      15       A. Yes.
                                                                                                      16       Q. Did you consider the DEEPWATER
                                                                                                      17   HORIZON to have a good safety culture?
                                                                                                      18       A. Yes, I did.
                                                                                                      19       Q. Why?
                                                                                                      20       A. Various reasons, you know. I
                                                                                                      21   have to characterize it -- I pushed
                                                                                                      22   tirelessly on safety, that was kind of my
                                                                                                      23   number one priority in building the
                                                                                                      24   culture. You can fix everything else,
                                                                                                      25   okay, you can fix downtime, you can fix
                                                                                           Page 558                                                 Page 560
                                                                                                       1   everything but you can't fix safety. If
                                                                                                       2   you hurt somebody, you can't take it back.
                                                                                                       3           So it was high on my list and we
                                                                                                       4   talked about safety every day. And it was
                                                                                                       5   the start of our conversations, it was the
                                                                                                       6   start of our meetings, it was in the
                                                                                                       7   forefront of everything we did.
                                                                                                       8      Q. Was there anything else,
                                                                                                       9   Mr. Johnson that was a higher priority than
 10                                                                                                   10   the safety of the men and women aboard the
                                                                                                      11   DEEPWATER HORIZON?
                                                                                                      12      A. No.




                                                                                                                            36 (Pages 557 to 560)
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In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                          Reported by:

PAUL J. JOHNSON                                                                                March 29, 2011     JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 565                                             Page 567
   1
                                                                                                       2           First, if you can tell us who on
                                                                                                       3   the Transocean DEEPWATER HORIZON crew would
                                                                                                       4   have had well control responsibilities as
                                                                                                       5   of the time of the incident in terms of
                                                                                                       6   activating the BOP?
                                                                                                       7       A. Transocean personnel?
                                                                                                       8       Q. Yes, sir.
                                                                                                       9       A. Assistant drillers. Drillers,
 10                                                                                                   10   toolpushers. OIM, subsea engineer.
                                                                                                      11       Q. What were their names,
                                                                                                      12   Mr. Johnson?
                                                                                                      13       A. Steven Curtis, Tom Clark. Dewey
                                                                                                      14   Revette, Jason Anderson.
                                                                                                      15       Q. Were these hard workers,
                                                                                                      16   Mr. Johnson?
                                                                                                      17       A. Yeah.
                                                                                                      18       Q. Were they good workers?
                                                                                                      19       A. Yes, they were.
                                                                                                      20       Q. Were they well trained?
                                                                                                      21       A. Yes.
                                                                                                      22       Q. They're the type of workers,
                                                                                                      23   based on your experiences, that would have
                                                                                                      24   become complacent in doing their jobs?
                                                                                                      25       A. No.
                                                                                           Page 566                                             Page 568




 10                                                                                                   10




                                                                                                                         38 (Pages 565 to 568)
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                                                         1                                                         3
             UNITED STATES DISTRICT COURT                     1   APPEARING FOR ANADARKO PETROLEUM COMPANY:
             EASTERN DISTRICT OF LOUISIANA                    2     Ms. Marilee J. Allan
                                                                    BINGHAM McCUTCHEN
     IN RE: OIL SPILL ) MDL NO. 2179                          3     Three Embarcadero Center
     by the OIL RIG,    )                                           San Francisco, California 94111
     DEEPWATER HORIZON in ) SECTION "J"                       4     marilee.allan@bingham.com
                                                              5
     the GULF OF MEXICO, )
                                                              6   APPEARING FOR TRANSOCEAN:
     April 20, 2010   ) JUDGE BARBIER
                                                              7     Mr. M. Benjamin Alexander
                  )                                                 Mr. Robert Kallam
                  ) MAG. JUDGE                                8     PREIS & ROY, PLC
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                                                             17
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                                                             18   APPEARING FOR CAMERON:
     taken at Pan-American Building, 601 Poydras             19     Mr. Thomas Ganucheau
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                                                             23
                                                             24
                                                             25

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14
                                                             17     Mr. John Funderburk
15       -                                                          MORGAN, LEWIS, LEWIS & BOCKIUS, LLP
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18     andrew@lemmonlawfirm.com                              21   APPEARING FOR MOEX USA AND MOEX OFFSHORE 2007,
19                                                                LLC
20   APPEARING FOR BP, INC.:                                 22
21     Mr. Don K. Haycraft
                                                                    Mr. Greg T. Lembrich
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24                                                                  greg.lembrich@pillsburylaw.com
25                                                           25

                                                                                                 1 (Pages 1 to 4)
                                        PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-31 Filed 11/01/11 Page 12 of 17

                                                                273                         275




 :28
3:30




 :28
3:30                                                                  1




       19     Q. Did you feel that either you or BP ever
       20   cut corners in order to save money and compromise
       21   safety?
       22     A. No, never.




                                                                274                         276




:29
:31




:29
:31    1                                                              1




:29
:31




                                                                          69 (Pages 273 to 276)
                                 PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-31 Filed 11/01/11 Page 13 of 17

                                                         317                                                      319



        3      Q. Were the employees, including the OIM,
        4   the toolpusher, the senior toolpusher, the
 :24
 :22    5   driller and the assistant drillers, all empowered
        6   to make their own safety calls on DEEPWATER
        7   HORIZON?
        8      A. That is --
        9            MR. KALLAM: Object to the form.
 :24
 :22   10      A. -- correct.                                 1
       11      Q. (BY MR. HAYCRAFT) Did they -- were they
       12   instructed that they should not -- that they were
       13   obligated not to proceed on a task until they are
       14   totally confident the conditions are safe?
 :24
 :22   15      A. If they felt the job was not safe, they
       16   had the right to stop the job.
       17      Q. Did they have the obligation to stop the
       18   job?
       19      A. Yes.
       20      Q. Were they empowered to stop the job?
       21      A. I empowered all of them to do that.




                                                         318                                                      320
                                                                   1
                                                                   2


4:23
4:25




4:23
4:25   1                                                       1



                                                               14        Q. So as a manager for Transocean, did you
4:23
4:25                                                           15      always put safety first?
                                                               16        A. Safety was always paramount, yes.
                                                               17


4:23
4:26




                                                                                     80 (Pages 317 to 320)
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                                                                321                             323
           1
           2


:28
:26




:28
:26    1                                                              1




:29
:26




:29
:26




4:     25         Q. In other words, saving hours -- man hours
                                                                322                             324
           1   as long as safety is not compromised is a good
           2   thing for performance benchmarks, isn't it?                2
           3     A. We will not compromise safety for
           4   performance.
4:27
4:29       5




4:27
4:29   1                                                              1




4:27
4:30




4:28
4:30




                                                                              81 (Pages 321 to 324)
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                                                         374                                                         376
               UNITED STATES DISTRICT COURT                     1   APPEARING FOR TRANSOCEAN:
               EASTERN DISTRICT OF LOUISIANA                    2     Mr. M. Benjamin Alexander
                                                                      Mr. Robert Kallam
     IN RE: OIL SPILL ) MDL NO. 2179                            3     PREIS & ROY, PLC
     by the OIL RIG,     )                                            102 Versailles Blvd., Suite 400
     DEEPWATER HORIZON in ) SECTION "J"                         4     Lafayette, Louisiana 70501
     the GULF OF MEXICO, )                                            mba@preisroy.com
     April 20, 2010   ) JUDGE BARBIER                           5     rmk@preisroy.com
                  )                                             6
                  ) MAG. JUDGE
                  ) SHUSHAN
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             Deposition of JONATHAN D. KEETON,                        BECK, REDDEN & SECREST
     taken at Pan-American Building, 601 Poydras               15     1221 McKinney Street, Suite 4500
     Street, 11th Floor, New Orleans, Louisiana,                      Houston, Texas 77010-2010
     70130, on August 18, 2011.                                16     tganucheau@brsfirm.com
                                                               17
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     21
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     24                                                        23
                                                               24
     25                                                        25

                                                         375                                                         377
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                                                                                                1 (Pages 374 to 377)
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                                                          638                                                      640
                                                                  1   company?
                                                                  2            MR. HAYCRAFT: Objection; form.
                                                                  3      A. I've never seen safety not be the core
                                                                  4   value of the company.
 3:39
3:36                                                              5      Q. (BY MR. KALLAM) From April of 2001 until
                                                                  6   August of 2009, did you ever receive any
                                                                  7   complaints from any BP contact concerning the
                                                                  8   condition of the DEEPWATER HORIZON not being safe
                                                                  9   and seaworthy and able to carry out its function
 3:39
3:36    1                                                        10   for them in drilling their wells?
                                                                 11            MR. HAYCRAFT: Objection; form.
                                                                 12      A. Not that I can recall.
                                                                 13      Q. (BY MR. KALLAM) Did you ever receive in
                                                                 14   complaints from BP or any of their
 3:39
3:37                                                             15   representatives from April of 2001 until August
                                                                 16   of 2009 that the BOP aboard the DEEPWATER HORIZON
                                                                 17   was not functioning safely?
        18      Q. Are you able to quantify in a percentage      18            MR. HAYCRAFT: Object to the form.
        19   term or hours per day how much of your time as      19      A. Not that I recall.
 3:39
3:37    20   rig manager from April of 2001 through August of    20      Q. (BY MR. KALLAM) Did you ever receive any
        21   2009 was devoted to safety?                         21   complaints about -- from them about the BOP not
        22      A. Safety is part of my day all day and even     22   able to perform its function?
        23   in the night.                                       23      A. No.
        24      Q. Can you elaborate on that for us? What        24      Q. Did you ever receive from BP any BP
 3:40
3:37    25   specific tasks do you do throughout the day that    25   contacts or any governmental agency any

                                                          639                                                      641
         1   have safety intertwined or focus of safety?          1   information that the BOP was not in full
         2      A. It will start with a morning call,             2   compliance with any applicable standards?
         3   normally around 6:15. We talk about the safety       3           MR. DART: Object to the form.
         4   of the vessel. I review safety alerts that come      4     A. No, I've never received that.
3:40
3:38     5   by or -- or any safety issues that come by           5     Q. (BY MR. KALLAM) Had you ever received
         6   through the office that day, any safety issues       6   any complaints from BP or any of your
         7   onboard the vessel with personnel. I review HS&E     7   representatives that you dealt with at BP that
         8   reports. Any major tasks we talk about safety.       8   the crew onboard the DEEPWATER HORIZON was not
         9      Q. Okay.                                          9   adequately trained?
3:40
3:38    10      A. I talk about safety on the way to work,       10     A. No.
        11   safety on the way home.                             11     Q. Did you ever receive any complaints that
        12      Q. Is it fair to say that safety was your        12   they were not competent to complete their job
        13   No. 1 priority?                                     13   duties and responsibilities?
        14            MR. DART: Objection; form.                 14     A. No.
3:40
3:38    15      A. It was -- it's not a priority. It's a         15     Q. Did you ever receive any complaints from
        16   core value with me.                                 16   BP or any of their -- any of your BP contacts
        17      Q. (BY MR. KALLAM) Was it also a core value      17   that the crew aboard the HORIZON was not trained
        18   of Transocean?                                      18   or experienced in well control?
        19            MR. DART: Objection; form.                 19     A. No.
3:40
3:38    20      A. Yes.                                          20
        21      Q. (BY MR. KALLAM) Did you ever observe any
        22   action on the part of Transocean or Transocean's
        23   management during your tenure as a rig manager of
        24   the DEEPWATER HORIZON that led you to believe
        25   that safety was not the core value of the
                                                                                     67 (Pages 638 to 641)
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                                                           642                                                      644
                                                                  1   promoted up to senior toolpusher.
                                                                  2      Q. When was that going to take effect?
                                                                  3      A. The day after the incident.
                                                                  4      Q. And Mr. Dewey Revette you had worked with
3:41
3:43                                                              5   on a number of occasions in the past?
                                                                  6      A. Many occasions.
                                                                  7      Q. Had actually worked side by side him as
                                                                  8   well as over him, correct?
                                                                  9      A. That is correct.
3:41
3:43   1                                                         10      Q. Would you characterize either of those
                                                                 11   individuals as risk -- risk takers?
                                                                 12      A. Neither one of them take risks.
                                                                 13      Q. How would you characterize their work
       14      Q. In reviewing reports, speaking to the          14   ethic and their work attitude insofar as well
3:41
3:43   15   crew or observing their actions, did you form any    15   control was concerned?
       16   opinions as to the drilling crew's ability to        16      A. They -- they took well control very
       17   respond to a well control situation?                 17   serious. I mean, if -- if they would have known
       18            MR. HAYCRAFT: Object to the form.           18   that this well would have done whatever it done,
       19      A. No, because they had caught well kicks         19   they would have never done it. So, I mean, I
3:42
3:44   20   half a barrel to a barrel, and there is very few     20   don't know how to really -- really qualify -- I
       21   people that can ever catch them that quick.          21   mean but these guys were very professional and on
       22      Q. (BY MR. KALLAM) My question was, if            22   top of their game.
       23   you -- during the course of observing them in        23      Q. Is there any doubt in your mind that
       24   action, so to speak, in the trenches, responding     24   Mr. Revette and Mr. Anderson would have done
3:42
3:44   25   to these well control situations, had you            25   everything within their power to act in
                                                           643                                                      645
        1   formulated any opinions as to their competency      1     accordance with the well control policies and
        2   based on their training and experience to address   2     procedures that they were trained to perform and
        3   a well control situation?                           3     those that you had seen them exhibit in the past?
        4            MR. HAYCRAFT: Objection; form.             4              MR. HAYCRAFT: Objection; form.
3:42
3:44    5            MR. DART: Objection; form.                 5       A. I have never seen them do anything that
        6      A. They were very competent, in my opinion.      6     wasn't what they were supposed to do in well
        7      Q. (BY MR. KALLAM) And what's the basis of       7     control, and I have no reason to doubt that they
        8   your statement to make that characterization of     8     would do anything wrong.
        9   the crew of the HORIZON?
3:42
3:44   10      A. They -- they showed to be very              1
       11   professional and on top of what they were doing.
       12   I mean, some of these guys were the best of the
       13   best.
       14      Q. You knew Dewey Revette?
3:42
3:44   15      A. I've known Dewey for 25 years.
       16      Q. You knew Jason Anderson?
       17      A. I've known Jason Anderson probably from
       18   '97.
       19      Q. Mr. Anderson was a toolpusher onboard the
3:43
3:45   20   HORIZON the night of April 20th; is that right?
       21      A. That is correct.
       22      Q. Had you made any recommendations
       23   concerning the future employment of Mr. Anderson?
       24      A. Mr. Anderson was to come off of the
3:
3:     25   HORIZON the following day to come to me to be
                                                                                     68 (Pages 642 to 645)
                                PURSUANT TO CONFIDENTIALITY ORDER
